 Case 2:23-cv-02174-WJM-JBC Document 13 Filed 06/07/23 Page 1 of 2 PageID: 71




                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


  OUR OWN CANDLE COMPANY, INC., On
  behalf of itself and all other similarly situated
                                                             Civ. No. 2:23-2174 (WJM)
                Plaintiff,

         v.          I        ORDER

  GIVAUDAN S.A., et al.,

                Defendants.



        This matter comes before the Court on Plaintiffs request for an Order pursuant to


Fed. R. Civ. P. 23(g) for appointment of interim class counsel, ECF No. 5. In addition to

the Rule 23(g) factors that the Court must consider in appointing class counsel, the "Manual


for Complex Litigation provides further guidance concerning the propriety of interim class

counsel appointment prior to class certification." Yaeger v. Subaru of America, Inc., No.


14-4490, 2014 WL 7883689, at n (DXJ. Oct. 8, 2014). The Manual states in pertinent

part:

        If the lawyer who filed the suit is to be the only lawyer seeking appointment
        as class counsel, appointing interim class counsel may be unnecessary. If,
        however, there are a number of overlapping, duplicative, or competing suits
        pending in other courts, and some or all of those suits may be consolidated,
        a number of lawyers may compete for class counsel appointment.

Manual for Complex Litigation, Fourth, § 21.11, at 246 (Federal Judicial Center 2004).

I-Iere, because no other attorneys have made their appearance on behalf of other plaintiffs

and Plaintiffs' counsel do not identify any "overlapping, duplicative, or competing suits
Case 2:23-cv-02174-WJM-JBC Document 13 Filed 06/07/23 Page 2 of 2 PageID: 72




pending in other courts,"1 the appointment of interim class counsel at this juncture is


unnecessary. See Kmian v. Elecirolnx Home Prod, Inc.,, 937 F. Supp. 2d 599, 620 (D.NJ.


2013); Santos v. Carrington Mortgage Servs., LLC, 15-864, 2016 WL 1029268, at ^2


(DXJ. March 15, 2016); Yaeger, 2014 WL 7883689, at n\ see also Berkelhammer v.

Automatic Data Processing, Inc., No. 20-5696, 2022 WL 3593855 (Aug. 23, 2022); and


         For these reasons, and for good cause shown,


         IT IS on this 7th day of June 2023, ORDERED that Plaintiffs request to appoint

Interim counsel is denied without prejudice. Should concerns listed in the Mamialfor


Complex Litigation arise before this Court has certified a class, counsel may renew their


request.



                                                                          /s/ William J. Martini
                                                                     WILLIAM J. MARTINI, U.S.D.J.




* Plaintiffs counsel here is also the same and only counsel appearing on behalf of the plaintiffs in the two related
cases pending before this Court, Nos. 23-3049 (WJM), 23-3050 (WJM).
